Case 1:22-cr-00673-LAK Document 412

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
-against-

SAMUEL BANKMAN-FRIED,

Defendant.

LEWIS A. KAPLAN, District Judge.

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The defendant and government each cite to a hearing transcript in In re FTX Trading
Ltd. et al., 22-bk-11068 (JTD) (Bankr, D. Del. Jan. 31, 2024) (ECF No. 6908). The parties shall

provide an electronic copy of the transcript to the Court.

SO ORDERED

Dated: March 19, 2024
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United States District Judge

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